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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA §
v. § Case No. 3:18-CR~B-M
LARRY DUNCAN (l) §

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate federal, state, or local law While on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § l4l35a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in Writing before making any
change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: 1100 Commerce St., Dallas, TX 75242 as directed.
Place/Date/Time

 

If blank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

AO 199A(Rev. 12/ l l) Order Setting Conditions of Release Page 2 Of3

 

 

 

 

 

' Case 3:18-cr-00536-|\/| Document 14 Filed 10/22/18 Page 2 of 3 Page|D 45 "
ADDITIONAL CONDITIONS OF RELEASE
IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
l:] (6) The defendant is placed in the custody of:
Person or organization
Address (only if above is an organization)
City and state Tel. No,
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately if the
defendant violates a condition of release or is no longer in the custodian’s custody,
Signed:
Custodian Dale
[l (7) The defendant must:
E (a) submit to supervision by and report for supervision to the
telephone number 214/753-2500, no later than
l:l (b) continue or actively seek employment
§/ (c) continue or start an education program.
g (d) surrender any passport to:
(e) not obtain a passport or other international travel document
ll (f) abide by the following restrictions on personal association, residence, or travel:
[l (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or
Prosecution, including:
ij (h) get medical or psychiatric treatment:
lj (i) return to custody each at o’clock after being released at o’clock for employment,
schooling, or the following purposes:
[l (i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer
considers necessary.
[l (k) not possess a firearm, destructive device, or other weapon.
ij (l) not use alcohol [l at all [l excessively.
[l (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
licensed medical practitioner.
U (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be
used with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
and/or any form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper w
with the efficiency and accuracy of prohibited substance screening or testing.
L__l (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services
office or supervising officer
\:l (p) participate in one of the following location restriction programs and comply with its requirements as directed
E (i) Curfew. You are restricted to your residence every day ij from to , or E as
directed by the pretrial services office or supervising officer; or
E (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the pretrial services office or supervising officer; or
[l (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
necessities and court appearances or other activities specifically approved by the court.
[:| (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the
program requirements and instructions provided
U (r) you must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services
or supervising officer.
ij (s) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, x
including arrests, questioning, or traffic stops.
[l (t)
AO l99A (Rev. 12/ l l) Order Set@g Conditions of Release Page 3 of 3

 

ADVICE OF PENALTIES AND SANCTIONS
` Case 3:18-cr-00536-|\/| Document 14 Filed 10/22/18 Page 3 of 3 Page|D 46
TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.
While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e., in
addition to) to any other sentence you receive.
lt is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they
involve a killing or attempted killing.
If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years _ you will be fined not more than
$250,000 or imprisoned for not more than five years, or both;
(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. l promise to obey all conditions of release, to
appear as directed, and surrender to serve any sentence imposed l am aware of the penalties and sanctions set forth above.

 

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Defendcmt 's Signature

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Directions to the United States Marshal

>Z< The defendant is ORDERED released after processing

l:l The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted bond

and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the appropriate judge at the time and place

    

specified

Date: October 22 2018

 

 

 

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL

